     Case: 3:93-cr-00746-JGC Doc #: 625 Filed: 09/19/13 1 of 5. PageID #: 698




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION



United States of America,                                     Case No. 3:93CR746

               Plaintiff

       v.                                                     ORDER

Craig S. Houston,

               Defendant




       Before me is Defendant Craig Houston's “Motion for Modification of Conditions of

Supervised Release.” (Doc. 621). Houston asks me to modify the terms of his supervised release to

serve his supervised release in the Northern District of Texas rather than the Northern District of

Ohio. For the reasons set forth below, Houston’s motion is denied.

                                           Background

       In July, 1994, following a bench trial, I found Houston guilty of participating in a conspiracy

to transport cocaine (Count 1, 21 U.S.C. §§ 841(a)(1) and (846)), being a felon in possession of

ammunition (Count 7, 18 U.S.C. § 922(g)), and possession of a firearm in relation to a drug

trafficking crime (Count 8, 18 U.S.C. § 924(c)). I acquitted Houston of possession with intent to

distribute crack cocaine (Count 2, 21 U.S.C. § 841(a)(2)).
        Case: 3:93-cr-00746-JGC Doc #: 625 Filed: 09/19/13 2 of 5. PageID #: 699




         Houston received life imprisonment on Count 1, 120 months concurrent imprisonment on

Count 7, and sixty months consecutive imprisonment on Count 8. As part of his supervised release,

I ordered Houston to reside in the Northern District of Ohio.

         In 2012, I reduced Houston’s sentence on the conspiracy conviction to 360 months

imprisonment in accordance with the 2011 crack-cocaine guideline amendments. 18 U.S.C. §

3582(c)(2).

         On May 17, 2013, Houston filed this motion under 18 U.S.C. § 3583(e)(2) and Fed. R. Crim.

P. 32.1(c). (Doc. 621). The Government filed an opposition. (Doc. 623). Houston has replied. (Doc.

624).

                                              Discussion

                 A. Court’s Power to Modify Conditions of Supervised Release

         I “may modify, reduce, or enlarge the conditions of supervised release, at any time prior to

the expiration or termination of the term of supervised release.” 18 U.S.C. § 3583(e)(2). In deciding

whether modification is appropriate, I consider: 1) the nature and circumstances of the offense and

the history and characteristics of the defendant; 2) deterrence; 3) protection of the public; 4) the need

to provide the defendant with educational and vocational training, medical care or other

rehabilitation; 5) the sentence and applicable sentencing range; 6) any pertinent policy statement by

the Sentencing Commission; 7) the need to avoid unwarranted sentence disparities; and 8) the need

to provide restitution to any victims of the offense. 18 U.S.C. 3553(a)(1)-(7).

         I may also order certain conditions of supervised release under § 3583(d). These conditions

must: 1) be reasonably related to the factors just discussed; 2) involve no greater deprivation of


                                                   2
     Case: 3:93-cr-00746-JGC Doc #: 625 Filed: 09/19/13 3 of 5. PageID #: 700




liberty than is reasonably necessary, and 3) be consistent with any pertinent policy statements issued

by the Sentencing Commission. 18 U.S.C. § 3583(d)(1)-(3).

       When a condition satisfies these elements, I may impose “any condition set forth as a

discretionary condition of probation in section 3563(b) and any other condition it considers to be

appropriate.” 18 U.S.C. § 3583(d). One such condition may be an order for a defendant to “reside

in a specified place or area, or refrain from residing in a specified area.” 18 U.S.C. § 3563(b)(13).

                              B. Propriety of Defendant’s Request

       Houston requests that he reside in the Northern District of Texas during his supervised

release. Houston notes that his cousin, who would provide him support, resides there. Moreover,

he claims he has no family currently living in Ohio. Thus, Houston argues, living in that location

during supervised release would more smoothly facilitate his transition into the community.

       The government responds that the motion is premature because Houston’s release date is in

August, 2019. The government also represents that the US Probation Office recommends that I not

act upon the motion until the Bureau of Prisons (BOP) and the Probation Office have had an

opportunity to address the request through normal procedures.

       The government suggests that Houston submit his request to the Probation Office in Texas

through the BOP. The Probation Office “routinely investigate[s]” these requests. (Doc. 623 at 5).

Finally, the government contends the motion is not ripe for my review.

       In reply, Houston contends his actual release date could be in 2017 if he completes the

Residential Drug Abuse Program and participates in the Second Chance Act. Moreover, he argues

that failing to rule on his motion will result in lost halfway house and furlough time.


                                                  3
        Case: 3:93-cr-00746-JGC Doc #: 625 Filed: 09/19/13 4 of 5. PageID #: 701




         In light of the Probation Office’s recommendation, I agree that Houston’s motion is

premature. If Houston submits his request to the Probation Office in Texas, the office will

investigate Houston’s proposed release plan and advise Houston and the BOP if it is approved or

not. The Probation Office typically requests these pre-transfer investigations twelve to eighteen

months before an inmate’s release. Because Houston is six years from release, it would be

premature for me to modify his supervised release now.

         I also agree with the government that the motion is unripe. The doctrine of judicial ripeness

prevents courts from entangling themselves in abstract disagreements. Nat'l Park Hospitality Ass'n

v. Dep't of Interior, 538 U.S. 803, 807 (2003). I should consider: 1) the fitness of the issues for

judicial decision; and 2) the hardship to the parties of withholding court consideration. Id. at 808.

         In United States v. Shipley, 825 F. Supp. 2d 984, 986-87 (S.D. Iowa 2011), the court

prohibited the defendant from possessing any type of camera or video recording device as part of

his supervised release. While still in jail, the defendant moved for modification arguing the

restriction would constrain his future employment. Id. at 990. The court held that altering the

conditions was unripe as “neither the Court nor Defendant knows the extent to which a camera will

be necessary for his future employment.” Id.

         Similarly, Houston’s request is unripe. While his cousin currently resides in Texas, that she

stays there until Houston’s release remains a contingent future event. Nothing prevents his cousin

from moving for job or family reasons. Accordingly, the request is unfit for judicial decision at this

time.




                                                  4
     Case: 3:93-cr-00746-JGC Doc #: 625 Filed: 09/19/13 5 of 5. PageID #: 702




                                       Conclusion

       Because Houston’s motion is premature and unripe, his Motion to Modify Conditions of

Supervision (Doc. 621) is denied.

       So ordered.

                                                /s/ James G. Carr
                                                Sr. U.S. District Judge




                                            5
